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                          CLERK’S COURTROOM MINUTE SHEET – CRIMINAL



UNITED STATES OF AMERICA,

                         Plaintiff,

v.
                                                                 Case No. 15-20016-01-DDC
JAY N. GIANNUKOS (01),

                         Defendant.

                                                                    Attorney for Plaintiff: Scott C. Rask
                                                             Attorney for Defendant: Angela L. Williams

 JUDGE:                      Daniel D. Crabtree        DATE:                                 2/25/2021
 CLERK:                       Megan Garrett            TAPE/REPORTER:                       Kim Greiner
 INTERPRETER:                                          PROBATION:                           Ruth Yorke




                                      MOTION HEARING
Defendant appears by Zoom Video Conference from CoreCivic upon consent.

The following motions are before the court:

        Doc. 154 – Defendant’s Motion to Compel Discovery – REMAINING PORTIONS PENDING
        FOUND AS MOOT as set forth in full on the record.

        Doc. 183 – (PRO SE) Defendant’s Motion to Compel His Own Copy of Discovery – DISMISSED
        AS MOOT as set forth in full on the record.

The court hears from counsel on the pending motions.

The court vacates the March 4, 2021 sentencing setting.

The court orders defendant’s counsel to file a status report by March 8, 2021 that advises the court
when the case will be in a position for sentencing.

Defendant remanded to custody.
